           Case 3:20-cv-00326-RCJ-CLB Document 40 Filed 01/11/21 Page 1 of 2




1
                               UNITED STATES DISTRICT COURT
2
                                      DISTRICT OF NEVADA
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4
      COURTNEY MOTLEY,                                Case No. 3:20-cv-00326-RCJ-CLB
5
            Petitioner,
6                                                     ORDER
            v.
7
      STATE OF NEVADA, et al.,
8
            Respondents.
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12          On November 30, 2020, the Court ordered this habeas corpus action dismissed
13   because the petitioner, Courtney Motley, has not exhausted his claim in state court. See
14   Order entered November 30, 2020 (ECF No. 32). The Court denied Motley a certificate
15   of appealability. See id. Judgment was entered that same date. See Judgment (ECF
16   No. 33).
17          On December 9, 2020, Motley filed a document entitled “Appellant’s Informal
18   Opening Brief” (ECF No. 35). Attachments to Motley’s December 9 filing (ECF Nos. 35-
19   1, 35-2, 35-3, and 35-4) include notations suggesting that Motley meant to direct those
20   documents to the Ninth Circuit Court of Appeals. The Court determines that Motley’s
21   December 9 filings indicate his intention to appeal, so the Court treats that filing as a
22   notice of appeal.
23          On January 6, 2021, Motley filed a Request for Transcript of Proceeding (ECF
24   No. 37). That document is captioned for filing in the Nevada Supreme Court. In it,
25   however, Motley appears to request transcripts of recorded proceedings in this action.
26   There have been no recorded proceedings in this action. The Court will, therefore, deny
27   Motley’s request. The Court will, however, direct the Clerk of the Court to send to Motley
28   copies of certain documents that may be relevant to his appeal.
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           Case 3:20-cv-00326-RCJ-CLB Document 40 Filed 01/11/21 Page 2 of 2




1          On January 11, 2021, the order dismissing this action (ECF No. 32) was

2    inadvertently re-entered (ECF No. 38), and judgment was again entered (ECF No. 39).

3    Those entries will be vacated.

4          IT IS THEREFORE HEREBY ORDERED that the Clerk of the Court is directed to

5    treat Petitioner’s December 9, 2020, filing (ECF No. 35) as a timely notice of appeal,

6    and process his appeal accordingly.

7          IT IS FURTHER ORDERED that Petitioner’s Request for Transcript of

8    Proceeding (ECF No. 37) is DENIED.

9          IT IS FURTHER ORDERED that the Clerk of the Court is directed to send to

10   Petitioner copies of the documents filed at ECF Nos. 6, 18, 19, 20, 32 and 33.

11         IT IS FURTHER ORDERED that the Clerk of the Court is directed to vacate the

12   order and judgment entered on January 11, 2021 (ECF Nos. 38 and 39), as

13   inadvertently entered and redundant of the order and judgment entered on November

14   30, 2020.

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16         DATED THIS 11th day of January, 2021.
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                                                     ROBERT C. JONES,
19                                                   UNITED STATES DISTRICT JUDGE
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